      Dated: 9/28/2020




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                COOKEVILLE DIVISION

 IN RE:                                                  )
                                                         )
 Angelia Nichole Shockley,                               )   BK No. 19-00138-MH2-7
                                                         )
         Debtor(s).                                      )

                   ORDER AUTHORIZING SALE OF REAL PROPERTY

       Erica R. Johnson, Chapter 7 Trustee (the “Trustee”) having filed with the Court a Motion
to Sell Real Property, notice of the Motion to Sell Real Property being provided to the parties to
which notice is required pursuant to L.B.R. 9013-1, and no objection to this motion having been
presented;
       IT IS HEREBY ORDERED as follows:
       A.      That the Trustee is authorized to sell all of her right, title and interest in real property
commonly described as 2088 Buffalo Valley Road, Cookeville, Tennessee 38501 (the “Property”)
for Three Hundred Sixty Thousand Dollars ($360,000.00) to David Ray Smith and Sue Ann Smith
(the “Buyer”) under the terms and conditions set forth in the Trustee’s Motion to Sell Real Property
previously filed with this Court (Docket Entry 84) (the “Motion”).
       B.      That the sale is approved pursuant to 11 U.S.C. § 363(b), (f), (h), (m), and (n) and
Fed. R. Bankr. P. 6004.
       C.      That the sale of the Property is free and clear of any and all exemptions and/or
interests of the Debtor.
       D.      That the disputed lien of American Bank & Trust of the Cumberlands against the
Property attaches to the proceeds of the sale, which will be held by the Trustee pending a final
determination by this Court in the Avoidance Lawsuit (as defined in the Motion).

       E.      That the following payments of sale proceeds are approved and the Trustee is



Case 2:19-bk-00138         Doc 92   Filed 09/29/20 Entered 09/29/20 07:41:22                  Desc Main
                                    Document     Page 1 of 2
authorized to disburse such amounts:
 Real Estate Commission:           Six percent (6%) of gross proceeds per L.B.R. 6005-1(c), to
                                   be paid as follows:
                                   1. $10,800.00 to Your Move Real Estate, LLC, the
                                      Trustee’s Agent; and
                                   2. $10,800.00 to The Realty Firm, the Buyer’s Agent.
 Other costs and expenses:         1. See Purchase and Sale Agreement attached to the Motion
                                      as Exhibit A.
                                   2. Any other liens of record at closing that are revealed by
                                      the final title search.

       F.     That this order shall be immediately effective upon entry notwithstanding Fed. R.
Bankr. P. 6004(h) and any other of the Federal Rules of Bankruptcy Procedure.
This order was signed and entered electronically as indicated at the top of the first page.

Submitted for Entry:

/s/ Erica R. Johnson
Erica R. Johnson (BPR No. 30939)
ERICA R. JOHNSON, ATTORNEY AT LAW, PLLC
8161 Highway 100, Suite 184
Nashville, Tennessee 37221
(615) 347-5869 – Telephone
erica@erjlaw.com – Email
Attorneys for Trustee




                                                                   This Order has been electronically
                                                                   signed. The Judge's signature and
                                                                   Court's seal appear at the top of the
                                                                   first page.
                                                                   United States Bankruptcy Court.

Case 2:19-bk-00138      Doc 92   Filed 09/29/20 Entered 09/29/20 07:41:22                 Desc Main
                                 Document     Page 2 of 2
